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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
CALIFORNIA PUBLIC EMPLOYEES’ )                  Civ. No. 24-cv-1743 (JMB/DTS)
RETIREMENT SYSTEM, Individually and )
on Behalf of All Others Similarly Situated, )   CLASS ACTION
                                            )
                           Plaintiff,           MEMORANDUM IN SUPPORT OF
                                            )
                                                LEAD PLAINTIFF’S NOTICE OF
                                            )
      vs.                                       RELATED CASE AND UNOPPOSED
                                            )
                                                MOTION FOR PROPOSED
UNITEDHEALTH GROUP INC., et al., )              STIPULATED SCHEDULE
                                            )
                           Defendants.      )
                                            )




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I.        Notice of Related Case

          Lead Plaintiff California Public Employees’ Retirement System hereby notifies the

Court of a recently filed action that is related to this action: Faller v. UnitedHealth Group

Inc., No. 1:25-cv-03799-AKH (S.D.N.Y.). On May 16, 2025, Lead Plaintiff filed a motion

seeking to intervene to transfer Faller to this Court and vacate the lead plaintiff deadline in

the Faller action. Upon transfer, Lead Plaintiff will seek to consolidate Faller with this

case. 1

          As this Court is aware, since filing the Consolidated Complaint, the ongoing

development of the investigations against UnitedHealth and a stream of new public

information have confirmed Lead Plaintiff’s allegations and necessitated that CalPERS

update its allegations on three occasions: (1) on November 25, 2024, with leave of Court,

CalPERS filed a supplemental complaint incorporating into its pleadings, inter alia, a report

released by the Office of the Inspector General for the Department of Health and Human

Services that corroborated CalPERS’ allegations regarding UnitedHealth’s fraudulent

Medicare Advantage practices (ECF 54); (2) on March 21, 2025, CalPERS filed an amended

complaint as of right under Rule 15(a)(1)(B), incorporating into its pleadings, inter alia, an

additional partial corrective disclosure following the announcement of a new civil fraud

investigation into UnitedHealth by the U.S. Department of Justice regarding UnitedHealth’s

1
    Lead Counsel has met and conferred with Defendants’ counsel and Defendants have
authorized Lead Counsel to include their position concerning this filing, which is as follows.
Defendants deny all wrongdoing and do not agree with any characterization that could be
read to suggest wrongdoing. However, Defendants concur with Lead Plaintiff that the Faller
matter is related to this case, and that it should be transferred and consolidated with this case.
To that end, Defendants intend either to move to transfer the Faller case to this Court, or to
join a pending motion to transfer.

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fraudulent Medicare Advantage practices (ECF 97); and (3) on May 5, 2025, CalPERS

moved again to supplement its pleadings to incorporate, inter alia, yet another partial

corrective disclosure, this time as a result of UnitedHealth’s April 17, 2025 reduction of its

earnings guidance which analysts connected to the DOJ investigations and UnitedHealth’s

fraudulent Medicare Advantage practices. 2 ECF 102-107. On May 14, 2025, the Court

granted CalPERS’ motion for leave to supplement and the Supplemental First Amended

Consolidated Complaint has now been filed. ECF 110.

         On May 7, 2025, two days after CalPERS filed its May 5, 2025 motion to supplement,

a new action was filed in the U.S. District Court for the Southern District of New York on

behalf of plaintiff Faller, who purchased 10 shares of UnitedHealth stock, and a putative

class of purchasers or acquirers of UnitedHealth securities, alleging claims based on the

same facts CalPERS’ Supplemental First Amended Consolidated Complaint alleges. Indeed,

the purported Faller class period overlaps with the Class Period alleged in the Supplemental

First Amended Consolidated Complaint in this action. Compare Faller ECF 1 with ECF

110.




2
    The stream of developments related to CalPERS’ allegations remains ongoing with The
Wall Street Journal reporting on May 13, 2025 that CEO Witty stepped down for “personal
reasons” on May 13, 2025 and the Company was suspending its 2025 guidance
(UnitedHealth CEO Is Out, Sending Shares Plummeting, by Anna Wilde Mathews and
Christopher Weaver) and on May 14, 2025 reporting that UnitedHealth Group Is Under
Criminal Investigation for Possible Medicare Fraud (also by Christopher Weaver and Anna
Wilde Mathews) which stated that “the Company’s stock has declined over financial
performance and sudden replacement of CEO.” The Faller complaint was amended on May
14, 2025 to include the related May 13, 2025 disclosure concerning Witty’s departure and
guidance suspension. See Faller ECF 5.

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         Like this Action, Faller alleges violations of §§10(b) and 20(a) of the Exchange Act

and Rule 10b-5 against UnitedHealth and (now former) CEO Andrew Witty, as well as

certain other UnitedHealth executives.         Faller ECF 1, ¶¶2-18.        And like CalPERS’

Supplemental First Amended Consolidated Complaint (see ECF 110), Faller alleges that,

following increased regulatory and public scrutiny as a result of fraudulent and unethical

business practices, UnitedHealth made a series of knowingly false and misleading statements

regarding its 2025 earnings projections and the health of its Medicare Advantage business

from December 2024 through April 2025. Faller ECF 1, ¶¶31-37. Also, like CalPERS’

Supplemental First Amended Consolidated Complaint, Faller alleges that, before the market

opened on April 17, 2025, UnitedHealth announced that it had slashed its 2025 earnings

projections, thereby causing UnitedHealth’s common stock price to fall by more than $130

per share. Id., ¶¶38-47.

         Because Faller is duplicative of the first-filed CalPERS action, Lead Plaintiff is

seeking to intervene in Faller to transfer that case to this District and vacate the lead plaintiff

notice issued in Faller. See Woldanski v. TuSimple Holdings, Inc., 2023 WL 1795191, at *3

(S.D.N.Y. Feb. 7, 2023) (transferring second-filed securities case to district where first-filed

action was pending and finding that “the instant action and the California Federal Action are

related to such a significant degree that transfer to S.D. Cal. would advance both the interests

of justice and efficiency” and further noting that “[t]ransfer would allow Defendants to move

to consolidate the instant action with the California Federal Action, which would save

judicial resources and avoid unnecessary conflicts between the cases”).



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II.      Submission of Proposed Stipulated Schedule for the Filing of
         Defendants’ Response to the Operative Complaint After Resolution of
         Motion to Transfer and Consolidate the Related Case

         On May 14, 2025, the Court also ordered that “The Parties shall promptly meet and

confer and propose a new schedule for the filing of Defendants’ response to the amended

complaint, including any motion(s) to dismiss.” ECF 109. As noted above, the Parties have

met and conferred and agree that for purposes of efficiency and conservation of judicial and

party resources, it makes sense to defer a proposed new schedule for the filing of

Defendants’ response to the operative complaint until after the resolution of the above-noted

motion to transfer and later motion to consolidate. As such, Lead Plaintiff respectfully

requests that the Court Order the Parties to submit a status update on the motion to transfer in

30 days.

DATED: May 19, 2025                   Respectfully submitted,

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                                      LAURIE L. LARGENT (admitted pro hac vice)
                                      ROBERT R. HENSSLER JR. (admitted pro hac vice)
                                      JEFFREY J. STEIN (admitted pro hac vice)
                                      JACK ABBEY GEPHART (admitted pro hac vice)


                                                     s/ Robert R. Henssler Jr.
                                                   ROBERT R. HENSSLER JR.




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